Case 2:17-cv-00042-RAJ Document 10 Filed 03/23/17 Page 1 of 8
Cait aorement of Justice PROCESS RECEIPT AND RETURN

United States Marshals Service

 

 

PLAINTIFF COURT CASE NUMBER
Kevin James Hill C17-0042-RAJ-JPD
DEFENDANT . TYPE OF PROCESS
King County Marshal Service

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE J Chief Executive of King County
ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

King County Chinook Building 401 - 5th Avenue, Suite 800 Seattle, WA 98104

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
i served with this Form 285 | 1
US. District Court . Number of parties to be
Western District of Washington served in this case 1
700 Stewart Street, Suite 2310
Seattle, WA 98101 Check for service
on U.S.A.

 

 

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SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVIC
All Telephone Numbers, and Estimated Times Available for Service):

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Please see attached order.
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ay WESTERN | DiStigs OF WASHINGTON
DEPUTY
Signature of Attorney other Originator requesting service on behalf of: DX] PLAINTIFF TELEPHONE NUMBER DATE
U.S. District Court Clerk's Office [_] DEFENDANT 206-370-8400 3/15/17
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
Date

T acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk

number of process indicated. Origin Serve .
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on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.
["] hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (if not shown above) CL] A person of suitable age and discretion
then residing in defendant's usual place

of abode
Date Time

Address (complete only different than shown above)
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Service Fee Total Mileage Charges] Forwarding Fee Total Charges Advance Deposits’ | Amount owed to U.S. Marshal* or
including endeavors) (Amount of Refund*)

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2. USMS RECORD 3 “S03
3. NOTICE OF SERVICE : yo OD
4. BILLING STATEMENT?®: To be returned to the U.S. Marshal with payment, ace “* “2
if any amount is owed. Please remit promptly payable to U.S. Marshal. “ bad = Form USM
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5. ACKNOWLEDGMENT OF RECEIPT ~ 5
 

 

Case 2:17-cv-00042-RAJ Document 10. Filed 03/23/17 Page 2 of 8

U.S. Department of Justi URN
United States Marshals | Service PROCESS RECEIPT AND RET

 

 

 

PLAINTIFF COURT CASE NUMBER
Kevin James Hill C17-0042-RAJ-JPD
DEFENDANT . . TYPE OF PROCESS
King County Marshal Service

 

 

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King County Chinook Building 401 - Sth Avenue, Suite 800 Seattle, WA 98104

 

 

 

 

 

 

 

 

 

 

 

 

 

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Seattle, WA 98101 Check for service
on U.S.A.
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SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (i ness and dresses,
All Telephone Numbers, and Estimated Times Available for Service):
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Please see attached order.
AT SEATTLE
CLERK U.S. DISTRICT GOURT
WESTERN DISTRICT OF WASHINGTON
BY DEPUTY
Signature of Attorney other Originator requesting service on behalf of: PLAINTIFF TELEPHONE NUMBER DATE
U.S. District Court Clerk's Office (] DEFENDANT 206-370-8400 3/15/17
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
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Name and title of individual served (if not shown above) (-] A person of suitable age and discretion

then residing in defendant's usual place

 

 

 

 

 

 

of abode
Address (complete only different than shown above) Date Time oO
am
CL] pm
Signature of U.S. Marshal or Deputy
Service Fee Total Mileage Charges| Forwarding Fee Total Charges Advance Deposits | Amount owed to U.S. Marshal* or
including endeavors) (Amount of Refund*)

 

 

 

 

 

 

REMARKS:

 

sutanomcer |. CLERK OF THE COURT

2. USMS RECORD

3. NOTICE OF SERVICE

4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,
if any amount is owed. Please remit promptly payable to U.S. Marshal. ms wd = SS Form USM-285

5. ACKNOWLEDGMENT OF RECEIPT ~~ i> Rev. 11/13

    
Case 2:17-cv-00042-RAJ Document 10 Filed 03/23/17 Page 3 of 8

ommt-4h0-(Rev. 06/12) Summong in a Civil Action

UNITED STATES DISTRICT COURT

 

 

 

for the
KEVIN JAMES HILL
)
)
Plaintiff(s) )
V. Civil Action No. C17-0042-RAJ-JPD
KING COUNTY ©
) <=
) 5
Defendant(s) ) os
SUMMONS IN A CIVIL ACTION cae
23
To: (Defendant's name and address) oe
te
Chief Executive of King County =
King County Chinook Building

401 - 5th Avenue, Suite 800
Seattle, WA 98104

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

U.S. DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON
700 STEWART STREET, SUITE 2310
SEATTLE, WA 98101

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

 

Date: 03/15/2017

 

Signature of Clerk or Deputy Clerk
 

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE
KEVIN JAMES HILL,
Plaintiff, Case No. C17-0042-RAJ-JPD
v.
ORDER DIRECTING PERSONAL
KING COUNTY, et al., SERVICE BY UNITED STATES
. MARSHAL
Defendants.
This is a civil rights action brought under 42 U.S.C. § 1983. Plaintiff is proceeding with |

this action pro se and in forma pauperis. The Court hereby ORDERS as follows:
(i) Service by United States Marshal.
The United States Marshal shall personally serve King County by delivering copies of the |
summons and amended complaint, and copies of this Order, to the Chief Executive of King
County in accordance with Rule 4(j)(2) of the Federal Rules of Civil Procedure. The Clerk shall

issue summons and assemble the necessary documents to effect this personal service.

ORDER DIRECTING PERSONAL
SERVICE BY UNITED STATES
MARSHAL - 1

 

 
 

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(2) Response to Complaint

Within thirty (30) days after service, defendant King County shall file and serve an
answer or a motion directed to the amended complaint, as permitted by Rule 12 of the Federal
Rules of Civil Procedure.

(3) Filing and Service by Parties, Generally

All attorneys admitted to practice before this Court are required to file documents
electronically via the Court’s CM/ECF system. Counsel are directed to the Court’s website,
www.wawd.uscourts.gov, for a detailed description of the requirements for filing via CM/ECF.
All non-attorneys, such as pro se parties and/or prisoners, may continue to file a paper original
with the Clerk. All filings, whether filed electronically or in traditional paper format, must
indicate in the upper right hand corner the name of the magistrate judge to whom the document
is directed.

For any party filing electronically, when the total of all pages of a filing exceeds fifty
(50) pages in length, a paper copy of the document (with tabs or other organizing aids as
necessary) shall be delivered to the Clerk’s Office for chambers. The chambers copy must be
clearly marked with the words “Courtesy Copy of Electronic Filing for Chambers.”

Any document filed with the Court must be accompanied by proof that it has been served
upon all parties that have entered a notice of appearance in the underlying matter.

(4) Motions, Generally

Any request for court action shall be set forth in a motion, properly filed and served.
Pursuant to LCR 7(b), any argument being offered in support of a motion shall be submitted as a

part of the motion itself and not in a separate document. The motion shall include in its caption

ORDER DIRECTING PERSONAL
SERVICE BY UNITED STATES
MARSHAL - 2

 

 

 
 

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(immediately below the title of the motion) a designation of the date the motion is to be noted for
consideration upon the Court’s motion calendar.
Stipulated and agreed motions, motions to file over-length motions or briefs, motions for

reconsideration, joint submissions pursuant to the option procedure established in LCR 37(a)(2),

| motions for default, requests for the clerk to enter default judgment, and motions for the court to

enter default judgment where the opposing party has not appeared shall be noted for
consideration on the day they are filed. See LCR 7(d)(1). All other non-dispositive motions
shall be noted for consideration no earlier than the third Friday following filing and service of the
motion. See LCR 7(d)(3). All dispositive motions shall be noted for consideration no earlier
than the fourth Friday following filing and service of the motion. Jd.

For electronic filers, all briefs and affidavits in opposition to either a dispositive or non-
dispositive motion shall be filed and served not later than 11:59 p.m. on the Monday
immediately preceding the date designated for consideration of the motion. Ifa party (i.e. a pro
se litigant and/or prisoner) files a paper original, that opposition must be received in the Clerk’s
office by 4:30 p.m. on the Monday preceding the date of consideration.

The party making the motion may file and serve, not later than 11:59 p.m. (if filing
electronically) or 4:30 p.m. (if filing a paper original with the Clerk’s office) on the date
designated for consideration of the motion, a reply to the opposing party’s briefs and affidavits.

(5) Motions to Dismiss and Motions for Summary Judgment

Parties filing motions to dismiss pursuant to Rule 12 of the Federal Rules of Civil
Procedure and motions for summary judgment pursuant to Rule 56 of the Federal Rules of Civil

Procedure should acquaint themselves with those rules. As noted above, these motions shall be

ORDER DIRECTING PERSONAL
SERVICE BY UNITED STATES
MARSHAL - 3

 

 
 

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noted for consideration no earlier than the fourth Friday following filing and service of the
motion.

Defendants filing motions to dismiss or motions for summary judge are advised that they
MUST serve Rand notices concurrently with motions to dismiss based on failure to exhaust
administrative remedies and motions for summary judgment so that pro se prisoner plaintiffs will
have fair, timely and adequate notice of what is required of them in order to oppose those
motions. Woods v. Carey, 684 F.3d 934, 941 (9th Cir. 2012). The Ninth Circuit has set forth
model language for such notices:

A motion for summary judgment under Rule 56 of the Federal Rules of
Civil Procedure will, if granted, end your case.

Rule 56 tells you what you must do in order to oppose a motion for
summary judgment. Generally, summary judgment must be granted when .
there is no genuine issue of material fact —-that is, if there is no real
dispute about any fact that would affect the result of your case, the party
who asked for summary judgment is entitled to judgment as a matter of
law, which will end your case. When a party you are suing makes a
motion for summary judgment that is properly supported by declarations
(or other sworn testimony), you cannot simply rely on what your
complaint says. Instead, you must set out specific facts in declarations,
depositions, answers to interrogatories, or authenticated documents,
as provided in Rule 56(e), that contradict the facts shown in the
defendant’s declarations and documents and show that there is a
genuine issue of material fact for trial. If you do not submit your own |
evidence in opposition, summary judgment, if appropriate, may be
entered against you. If summary judgment is granted, your case will
be dismissed and there will be no trial.

Rand v. Rowland, 154 F.3d 952, 963 (9th Cir. 1998) (emphasis added).
Defendants who fail to file and serve the required Rand notice on plaintiff may have their

motion stricken from the Court’s calendar with leave to re-file.

ORDER DIRECTING PERSONAL
SERVICE BY UNITED STATES
MARSHAL - 4

 

 
 

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(6) Direct Communications with District Judge or Magistrate Judge

_ No direct communication is to take place with the District Judge or Magistrate Judge with
regard to this case. All relevant information and papers are to be directed to the Clerk.
(7) The Clerk is directed to send copies of this Order to plaintiff and to the King
County Prosecutor’s Office.
DATED this 14th day of March, 2017.
/ ibe R Donhhi

YKMES P. DONOHUE
Chief United States Magistrate Judge

 

ORDER DIRECTING PERSONAL
SERVICE BY UNITED STATES
MARSHAL - 5

 
